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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                                       Case No. 1:21-cr-91-RCL-3

 TAYLOR JAMES JOHNATAKIS,

         Defendant.


                                            ORDER

       For the reasons explained in open court at the status conference this morning, the Court

finds that Defendant Taylor James Johnatakis did not cooperate with the competency evaluation

required by the Court' s April 12, 2023 Order. Accordingly, the Court hereby ORDERS Mr.

Johnatakis to submit to an additional competency examination by Dr. Brent J. O'Neal pursuant to

18 U.S.C. § 4241 (b ), so that Dr. O'Neal may complete a supplemental competency report pursuant

to 18 U.S.C. § 4247(c). As part of his evaluation, Dr. O'Neal may conduct collateral interviews

with third parties who are familiar with Mr. Johnatakis's day-to-day patterns of behavior. The

Court further ORDERS that Mr. Johnatakis ' s conditions of release be MODIFIED to require

cooperation with the competency evaluation.

       The Court hereby admonishes Mr. Johnatakis, as it did from the bench, that cooperation

with the competency evaluation requires the following:

       (1) Responding truthfully and fully to all questions asked by the evaluator, without
           reference to any prepared remarks or scripts and without refusing to answer questions,
           including because he does not wish to "testify";

       (2) Participating meaningfully in, and completing, all testing procedures administered by
           the evaluator; and

       (3) Providing the evaluator with his genuine expressions of thoughts and feelings when
           asked.




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Furthermore, the Court advises Mr. Johnatakis that the potential consequences of continued non-

cooperation with the competency evaluation include, but are not limited to, the Court ordering him

into custody for an evaluation at a U.S. federal medical center, see 18 U.S.C. § 4247(b), holding

him in contempt of court, and/or revoking his pretrial release.

        In response to questions Mr. Johnatakis asked at the status conference this morning, the

Court wishes to clarify that his answers to Dr. O'Neal's questions do not implicate his Fifth

Amendment right against self-incrimination, because they cannot and will not be used against him

to prove his guilt or determine any punishment. Statements made as part of a court-ordered

competency evaluation only implicate the Fifth Amendment if they are used as evidence against a

defendant to prove his guilt or the appropriate punishment-not if they are used solely to determine

competency to stand trial. See United States v. Weston, 36 F. Supp. 2d 7, 13 (D.D.C. 1999) (citing

Estelle v. Smith, 451 U.S. 454, 468 (1981); Fed. R. Crim. P. 12.2(c), (d)). To be clear, the sole

purpose of requiring Mr. Johnatakis to answer Dr. O'Neal's questions is to determine his

competency. Should Mr. Johnatakis be found competent to stand trial, the Court will not admit

against him any statements he makes to Dr. O'Neal as proof of his guilt nor, in the event of a guilty

verdict or plea, the appropriate punishment.

        IT IS SO ORDERED.



 Date: July !..!._, 2023
                                                                   Royce C. Lamberth
                                                                   United States District Judge




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